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             UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                               Oakland Venue


                    Petition for Summons for Person Under Supervision


 Person Under Supervision                        Docket Number
 Charles Edward Moss                             0971 4:13CR00790-001 PJH

 Name of Sentencing Judge: The Honorable Phyllis J. Hamilton
                           United States District Judge

 Date of Original Sentence:     August 6, 2014

 Original Offense: Count One: Possession with Intent to Distribute and Distribution of
 Cocaine Base in the Form of “Crack” Within 1,000 Feet of School, 21 U.S.C. § 860(a) and
 841 (a)(1) and (b)(1)(C), a Class B felony.


 Original Sentence: 72 months custody; 6 years supervised release
 Special Conditions: Drug treatment and testing; abstain from alcoholic beverages; $100
 special assessment; drug offender registration; not to own or possess any firearms,
 ammunition,
 destructive devices, or other dangerous weapons; expanded search; DNA; and a neighborhood
 ban.

 Prior Form(s) 12: On September 18, 2018, the Court took judicial notice that Mr. Moss tested
 positive for marijuana on August 8, 2018, and September 5, 2018. On November 11, 2019, the
 Court took judicial notice that Mr. Moss tested positive for marijuana on October 3, 2018. On
 October 24, 2019, the court modified Mr. Moss’ conditions to 25 hours of community service
 after Mr. Moss was arrested for driving under the influence.


 Type of Supervision                             Date Supervision Commenced
 Supervised Release                              March 2, 2018
 Assistant U.S. Attorney                         Defense Counsel
 Alexandra P. Summer                             Julia Jayne (Appointed)


                                     Petitioning the Court

The issuance of a summons for the person under supervision to appear in court before the duty
Magistrate Judge for identification of counsel and setting of further proceedings on February 28,
2022, at 10:00am.

                                                                    NDC-SUPV-FORM 12C(1) 4/6/2015
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RE:    Moss, Charles Edward                                                                        2
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I, Carolena Martin, a Probation Officer employed in the United States District Court for the
Northern District of California, solemnly affirm and declare, under penalty of perjury, that to the
best of my information and belief, the facts set forth in this affidavit are true and correct. The
factual affirmations made below are based on my personal knowledge, on official records or
documents generated and maintained by my agency in the course of performing its functions, on
official records or documents generated and maintained by other government agents or agencies
in the course of performing their functions, or on information provided to me orally or
electronically by employees or agents of other public agencies (information developed or acquired
in the course of performing official agency functions).

 Charge Number         Violation

 Charge One            There is probable cause to believe that the person under supervision violated
                       mandatory condition number two that he shall not commit another federal,
                       state or local crime.

                          On January 27, 2022, Mr. Moss possessed narcotics for sale, in violation
                          of California Health and Safety Code Sections 11377a (Possession of
                          Methamphetamine), a felony, 11359b (Possession of Marijuana for
                          Sale), a misdemeanor, 11378 (Possession of Methamphetamine for
                          Sale), a felony, and 11532a (Sale of a controlled substance),
                          misdemeanor.

                          According to the Oakland Police Department Report, Mr. Moss was
                          arrested after he was observed selling baggies of controlled substances
                          to several subjects.

                          During officer surveillance, Mr. Moss was observed grabbing baggies
                          from the trunk of a Toyota Corolla, License Plate #8LIC984. According
                          to the police report, one clear plastic sandwich bag containing a total of
                          approximately 2 pounds of marijuana and one clear plastic sandwich
                          bag containing 73 unknown pills of various colors and shapes were
                          seized during the search of the vehicle. According to the report, the pills
                          have been sent to the lab for testing.

                          During a conversation with one of the arresting officers, he
                          communicated that Mr. Moss is being charged and is scheduled to
                          appear in state court in March of 2022.

                          Evidence in support of this charge can be found in the Oakland Police
                          Department report (#22-004317 and #22-004367) and chronological
                          entries dated January 28, 2022.

 Charge Two            There is probable cause to believe that the person under supervision violated
                       standard condition number seven that he shall not purchase, possess, use,
                       distribute, or administer any controlled substance or any paraphernalia
                       related to any controlled substances, except as prescribed by a physician.



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                       As noted in Charge One, on January 22, 2022, Mr. Moss was in possession
                       of narcotics and distributed them to several individuals.

                           Evidence in support of this charge can be found in the Oakland Police
                           Department report (#22-004317 and #22-004367).


 Charge Three          There is probable cause to believe that the person under supervision
                       violated special condition number eight that he shall stay away from the
                       area bounded by the corners of Myrtle Street and 26th Street, San Pablo
                       Ave. And 27th Street, San Pablo Ave. and Athens Ave., Market Street and
                       W. Grand Ave., and Myrtle Street and W. Grand Ave., in Oakland,
                       California.

                           On January 26, 2022, Mr. Moss entered the boundaries of his stay away
                           condition without the permission of his probation officer or the court.

                           During officer surveillance, Mr. Moss was observed on the north
                           sidewalk of Mead Ave, just east of USA Food Mart Convenience Store
                           which is located at 2408 Market Street in Oakland, California.

                           Evidence in support of this charge can be found in the Oakland Police
                           Department report (#22-004317 and #22-004367).


Based on the foregoing, there is probable cause to believe that Charles Edward Moss violated the
conditions of his Supervised Release.


 Respectfully submitted,                           Reviewed by:



 ___________________________________               ___________________________________
 Carolena Martin                                   Noel Belton
 Probation Officer                                 Supervisory U.S. Probation Officer
 Date Signed: January 31, 2022




Having considered the information set forth above, the court finds there is probable cause to
believe there has been a violation of the conditions of supervision and orders:




                                                                      NDC-SUPV-FORM 12C(1) 4/6/2015
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X     The issuance of a summons for the person under supervision to appear in court before the
      duty Magistrate Judge for identification of counsel and setting of further proceedings on
      February 28, 2022, at 10:00am.

      Other:




  January 31, 2022
___________________________________               /s/ Phyllis J. Hamilton
                                                ___________________________________
Date                                            Phyllis J. Hamilton
                                                Chief United States District Judge




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RE:    Moss, Charles Edward                                                          5
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                                         APPENDIX

Grade of Violations: B USSC §7B1.1(a)(2), p.s.

Criminal History at time of sentencing: VI




                                Statutory Provisions    Guideline Provisions

 Custody:                        3 years                21-27 months
                                18 U.S.C. §3583(e)(3)   USSC §7B1.4(a), p.s.

 Supervised Release:            5 years                 5 years
                                18 U.S.C. §3583(h)      USSC §7B1.3(g)(2), p.s.

 Probation:                     Not Applicable          Not Applicable




                                                          NDC-SUPV-FORM 12C(1) 4/6/2015
